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 5
                              UNITED STATES DISTRICT COURT
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                         EASTERN DISTRICT OF WASHINGTON
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     UNITED STATES OF AMERICA,                     No. 2:13-CR-008-WFN-52
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10                      Plaintiff,                 ORDER DENYING MOTION FOR
                                                   RECONSIDERATION AND
11 vs.                                             DIRECTING INQUIRY INTO
12                                                 RELEASE ADDRESS
   DIAMOND LEANNE McDONALD,
13
                                                   *** ACTION REQUIRED ***
14                      Defendant.                    PRETRIAL SERVICES
15         Defendant was arrested in the Central District of California on September 9,
16   2014, ECF No. 2697, and has remained in custody since that time. This Court held
17   a bail hearing on October 24, 2014, and granted the government’s motion for
18   detention.
19         According to the Pretrial Services from the Central District of California
20   ECF 2817, Defendant’s only conviction was for being an unlicensed driver. She is
21   a single parent with three children, the youngest of whom is slightly over one year
22   old and is said to be afflicted with sickle cell anemia. Defendant was detained
23   largely because of uncertainty about the proposed release address.
24         Defense counsel and Pretrial Services have continued to consider an
25   appropriate release address. The court has received supplemental reports from
26   Pretrial Services on October 24, 2014, ECF No. 2916, and on December 10, 2014,
27   ECF No. 3190. On January 9, 2015, the Court held a hearing to reconsider
28   conditions of release.



     ORDER - 1
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 1         On January 16, 2015, Pretrial Services advised the Court that none of the
 2   addresses proposed for Defendant have proved suitable.
 3         The Court therefore DENIES Defendant’s Motion for reconsideration of
 4   release conditions, ECF No. 3205, and directs that without any further court order
 5   Pretrial Services evaluate any reasonable address for release as may be provided by
 6   defense or other appropriate source, and report to the Court and parties should such
 7   address prove suitable for release.
 8         IT IS SO ORDERED.
 9         DATED January 21, 2015.
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11                                _____________________________________
                                            JOHN T. RODGERS
12                                 UNITED STATES MAGISTRATE JUDGE
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     ORDER - 2
